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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                                    CASE NO.: 24-cv-61983-WPD

  CATHERINE KUEPPERS and KATHLEEN
  SUMMY individually and behalf of others similarly
  situated,

                 Plaintiffs,
         v.

  ZUMBA FITNESS, LLC,
                                                        /
                 Defendant.

         ORDER TO SHOW CAUSE WHY MOTION SHOULD NOT BE GRANTED

         THIS CAUSE is before the Court upon Defendant’s Motion to Dismiss (the “Motion”),

  filed January 13, 2025 [DE 12]. The Court has carefully considered the Motion [DE 12] and is

  otherwise fully advised in the premises.

         Local Rule 7.1(c)(1) provides that “[f]or all motions, except motions served with the

  summons and complaint, each party opposing a motion shall serve an opposing memorandum of

  law no later than fourteen (14) days after service of the motion. Failure to do so may be deemed

  sufficient cause for granting the motion by default.” S.D. Fla. L.R. 7.1(c)(1). Accordingly, per

  the Local Rules, Plaintiff’s Response to the Motion was due on January 27, 2025. However, as

  of the date of this Order, no response to the Motion [DE 12] has been filed and the time for such

  filing has passed.

         Accordingly, it is ORDERED AND ADJUDGED that Plaintiff shall show cause no later

  than February 5, 2025, why the instant Motion [DE 12] should not be granted. A failure to

  timely respond may result in the Court granting the Motion [DE 12] by default.
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         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 29th day of January, 2025.




  Copies furnished to:
  Counsel of Record
